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        EXHIBIT 3
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From:          Roche, Jennifer L.
To:            Maura Grossman; Gallagher, Katie
Cc:            Hinger, Cathy; Weaver, Kurt; Bruno, Victoria; Ames, Lela; Baker, Jeremy; Mervis, Michael T.; Vinti, Baldassare;
               Alladi, Om V.; Gordon, Amy B.
Subject:       RE: TMUS"s Proposed Priority Listing of Outstanding Motions to Complete Discovery
Date:          Monday, March 4, 2024 10:37:06 PM
Attachments:   image001.png
               image002.png
               image003.png
               image004.png
               TMUS Proposed List of Discovery Motions in Priority.docx




    External (jroche@proskauer.com)

                                                                                               Report This Email FAQ



Dear Dr. Grossman:

Attached is TMUS’s proposal regarding prioritization of the currently pending
and anticipated discovery motions. TMUS strongly urges you to consider its
motion to compel Rule 26(a) damages information first, which is consistent
with your prior agreement to take it up as the next dispute after plaintiffs’
supplemental reply brief was filed on February 13, 2024. See Jan. 11. 2024
email re “Request to Submit Supplemental Brief iso Motion to Compel Rule
26(a)(1)(A)(iii) Damages Information.” Indeed, this motion was first filed in
June 2023 and resolution is needed for TMUS to proceed with and complete
damages fact discovery.

Plaintiffs’ position that this motion cannot be heard because of a supposed
question about TMUS’s interrogatory answers concerning total call volumes is a
red herring. First, plaintiffs’ characterization of Mr. Nehra’s and Mr. Pachalla’s
testimony is quite misleading—but that is the subject of other pending motions
and we do not believe it should be argued in this email exchange. Even
assuming their argument about TMUS’s interrogatory answers were correct,
TMUS’s motion makes clear that it is seeking information about plaintiffs’
methodology for determining its alleged damages—not the precise number.
There is no reason you cannot rule on whether TMUS is entitled to such
information at this time.

Plaintiffs’ assertions concerning TMUS’s retention of CDRs are inflammatory
and unnecessary. As plaintiffs have known for nearly two years that TMUS
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does not have CDRs from the relevant period, this fact cannot be a reason why
plaintiffs should not be compelled to disclose their damages methodology now.
 For the same reason, TMUS’s motion for discovery on plaintiffs’ damages
methodology is independent from plaintiffs’ alleged spoliation motion.
Whether TMUS owed a duty to plaintiffs to maintain CDRs (it did not) cannot
affect plaintiffs’ damages methodology as no ruling on the spoliation motion
will restore CDRs that do not exist. Indeed, when you agreed to take up
TMUS’s Rule 26 motion as the next dispute, plaintiffs did not then complain
that it supposedly goes “hand in hand” with their spoliation motion. It does
not.

Other than the disputes concerning when TMUS’s Rule 26(a) motion should be
heard, the parties generally agree on the order in which the disputes should be
resolved. As to your specific question regarding maximizing the ability to get
the most discovery done by March 18, we do not believe that scheduling any
motions to be heard before TMUS’s Rule 26(a) motion is likely to allow other
contemplated discovery, if permitted, to completed by that date. We have
included in our chart, however, a description of the discovery that would follow
if TMUS’s pending motions are granted.


Jennifer L. Roche
Senior Counsel

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From: Maura Grossman <maura.grossman@uwaterloo.ca>
Sent: Monday, March 4, 2024 6:21 PM
To: Gallagher, Katie <Katie.Gallagher@wbd-us.com>
Cc: Hinger, Cathy <Cathy.Hinger@wbd-us.com>; Weaver, Kurt <Kurt.Weaver@wbd-us.com>; Bruno,
Victoria <Victoria.Bruno@wbd-us.com>; Ames, Lela <Lela.Ames@wbd-us.com>; Baker, Jeremy
<Jeremy.Baker@wbd-us.com>; Mervis, Michael T. <MMervis@proskauer.com>; Vinti, Baldassare
<BVinti@proskauer.com>; Roche, Jennifer L. <jroche@proskauer.com>; Alladi, Om V.
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<OAlladi@proskauer.com>; Gordon, Amy B. <AGordon@proskauer.com>
Subject: RE: Plaintiffs Proposed Priority Listing of Outstanding Motions to Complete Discovery

This email sent by maura.grossman@uwaterloo.ca originated from outside the Firm.

Received.

Thank you.

From: Gallagher, Katie <Katie.Gallagher@wbd-us.com>
Sent: Monday, March 4, 2024 9:12 PM
To: Maura Grossman <maura.grossman@uwaterloo.ca>
Cc: Hinger, Cathy <Cathy.Hinger@wbd-us.com>; Weaver, Kurt <Kurt.Weaver@wbd-us.com>; Bruno,
Victoria <Victoria.Bruno@wbd-us.com>; Ames, Lela <Lela.Ames@wbd-us.com>; Baker, Jeremy
<Jeremy.Baker@wbd-us.com>; Mervis, Michael T. <MMervis@proskauer.com>; Vinti, Baldassare
<BVinti@proskauer.com>; Roche, Jennifer L. <jroche@proskauer.com>; Alladi, Om V.
<OAlladi@proskauer.com>; Gordon, Amy B. <AGordon@proskauer.com>
Subject: Plaintiffs Proposed Priority Listing of Outstanding Motions to Complete Discovery

Dear Dr. Grossman,

As Ms. Hinger is currently traveling, I am writing to present Plaintiffs’
position on the order of priorities for outstanding motions, which are set
forth in the attached summary document prepared by Ms. Hinger. Ms.
Hinger provided this list to TMUS on Sunday March 3, 2024, and Mr.
Michael Mervis for TMUS and Ms. Hinger for Plaintiffs met and
conferred about it by phone. TMUS will provide its list of proposed
order of priorities separately. The following is a cover email for
Plaintiffs’ list prepared by Ms. Hinger:

The primary area of disagreement is whether TMUS’s Motion to Compel
Plaintiffs to Amend their Initial Disclosures concerning damages should
be addressed first as TMUS asserts, or deferred until after all other
deposition related motions are resolved and in connection with Plaintiffs’
spoliation motion, as Plaintiffs assert. Plaintiffs assert TMUS’s motion
should not be considered first for the following reasons, which Plaintiffs
discussed with TMUS:

   1. Plaintiffs have served 4 subpoenas on Inteliquent for depositions
      the week of March 11th to preserve their rights to complete
      discovery within the current deadline (Rule 30(b)(6), John Bullock,
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     Tim Schneberger, Mary Hochheimer). Assuming Inteliquent will
     seek additional time to schedule these depositions after a ruling on
     Plaintiffs’ Motion to Compel against Inteliquent, these depositions
     are a primary impediment to Plaintiffs’ completion of fact discovery
     depositions. The sooner we can resolve the scope of these
     necessary depositions and schedule them, the sooner we can
     ascertain a firm close of discovery date.

   2. As Plaintiffs have explained to TMUS, Plaintiffs require discovery
     from Inteliquent concerning certain information before they can
     determine the damages methodologies Plaintiffs’ experts will use to
     calculate the aggregated class wide damages for terminating
     access charges and other types of damages. Plaintiffs require,
     among other things, clarifying testimony from Inteliquent about
     what certain signaling codes in its CDRs mean, information about
     Average Length of Call (“ALOC”) information found within
     Inteliquent documents, information about the volume and
     percentages of TMUS direct long distance traffic Inteliquent carried
     at different points in time during its migration, and other information
     that may help Plaintiffs’ experts with their methodologies.
     Inteliquent is refusing to produce any witnesses on anything
     without being ordered to do so by the Special Master.

   3. Next, had TMUS not destroyed its CDRs, as explained in Plaintiffs’
     pending spoliation motion, Plaintiffs likely could have developed
     their damages methodologies with less burden and delay. If we
     had TMUS CDRs, Plaintiffs would not have had to engage in the
     type of piecemeal fact gathering they have been undertaking in
     search of substitute data sources to account for the calls not
     captured by Inteliquent’s CDRs due to the traffic TMUS handed off
     to other providers. Further to this point, Plaintiffs served
     Interrogatories on TMUS last fall asking it to identify its total call
     volumes and call volumes it handed off to intermediate providers
     other than Inteliquent to help fill this gap resulting from TMUS not
     preserving its CDRs. TMUS’s sworn interrogatory responses
     repeatedly asserted that TMUS does not have data that would
     enable it to determine that information. However, in the recent
     depositions of TMUS employees Sukhi Nehra and Satish Pachalla
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     (Mr. Pachalla’s deposition was just last Friday, 3/1/24), both
     employees confirmed that certain documents in TMUS’s production
     could be used to estimate certain scopes of call volumes carried by
     other intermediate providers, and in particular the volume of
     domestic long distance calls TMUS handed off to all intermediate
     providers other than Inteliquent in 2016, rendering TMUS’s
     interrogatory responses inaccurate. Plaintiffs’ counsel, Ms. Hinger
     discussed this point specifically with TMUS counsel, Mr. Mervis in a
     meet and confer on 3/3/24, asserting that TMUS’s inaccurate
     information in its interrogatory responses makes it impossible for
     Plaintiffs to establish a methodology for its aggregated class wide
     damages for loss of terminating access charges until the fact
     discovery concerning the call volumes carried by other intermediate
     providers is complete.

   4. Thus, the Inteliquent discovery and resolution of disputes, if any,
     over TMUS’s inaccurate interrogatory responses about call
     volumes are necessary predicates to Plaintiffs’ development of the
     very damages methodology TMUS’s preferred first motion seeks to
     compel Plaintiffs to provide without the benefit of the factual
     information they need to develop a methodology.

Finally, TMUS’s representations in the document it is sending to you
that it has “not been able to obtain discovery about the basis for
Plaintiffs’ damages claims” is not true. TMUS has deposed Plaintiffs’
30(b)(6) witnesses and employees at length about factual information
known to them about their damages, Plaintiffs have already amended
their initial disclosures to describe the damages sought, TMUS recently
served another set of interrogatories in response to which Plaintiffs will
be producing additional factual information, and Ms. Hinger told Mr.
Mervis in their 3/3/24 meet and confer that Plaintiffs would be producing
more factual evidence concerning damages associated with their
porting of numbers, which caused them to lose terminating access
charges. TMUS is also deposing a former CTC employee next week
who is expected to have additional information about CTC’s damages.
Therefore, TMUS has not been deprived of any discovery on damages,
what has not been disclosed is the firm and final methodology for
calculation of aggregated class wide terminating access charge
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damages, which would be impossible for Plaintiffs to do now anyway
due to the predicate fact discovery concerning potential elements of the
methodology not yet being complete. Rather, as Plaintiffs’ list proposes,
TMUS’s motion should be considered in tandem with Plaintiffs’
spoliation motion because they go hand in hand.

Best Regards,

Katie Gallagher
Katie Gallagher
She/Her
Of Counsel
Womble Bond Dickinson (US) LLP

d: 202-857-4451                                                    2001 K Street, NW
m: 301-520-2878                                                    Suite 400 South
e: Katie.Gallagher@wbd-us.com                                      Washington, DC 20006




                                                                   womblebonddickinson.com


Signature for Gallagher, Katie




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Disclaimer for Gallagher, Katie




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 TMUS’ Proposed Priority Listing of Outstanding Motions to Complete Fact Discovery


Motion                         Time Motion Has Been            Impact of a Decision on the
                               Pending                         Status of Discovery that
                                                               Can Be Taken Before
                                                               March 18, 2024
TMUS’s Opposed Motion to       On January 11, 2024, the        TMUS has not been able to
Compel Rule 26(a)(1)(A)(III)   Special Master said once the    obtain discovery about the
Damages Information and        supplemental briefing was       basis for Plaintiffs’ damages
Supplement                     completed, she would turn to    claims because Plaintiffs have
                               this motion as the next         refused to disclose adequate
                               dispute up.                     damages information.
                                                               Decision on this motion is
                               Motion pending since June       needed so that TMUS can
                               30, 2023.                       proceed and conclude
                                                               damages discovery.
                               Because the motion was still
                               pending, on January 10, 2024,
                               T-Mobile filed a
                               supplemental brief informing
                               the Special Master of new
                               information which
                               contradicted plaintiffs’
                               representations in their
                               opposition. Plaintiffs
                               requested and received over a
                               month to respond, and
                               supplemental briefing was
                               completed on February 13,
                               2024.
Plaintiffs’ Motion to Compel   Motion pending since:
Rule 30(b)(6) Deposition       January 31, 2024
Testimony from Inteliquent,
Inc.

TMUS’s Motion to Compel     Motion pending since:              If this motion is resolved,
Rule 30(b)(6) Deposition    February 2, 2024                   TMUS can schedule and take
Testimony from Plaintiff                                       the deposition of Craigville’s
Craigville Telephone Co.                                       30(b)(6) witness on Topic 7.
d/b/a AdamsWells on Topic 7

TMUS's Motion for              Motion pending since:           If this motion is resolved,
Additional Time to Depose      February 16, 2024               TMUS can schedule and take
Craigville                                                     the deposition of Craigville’s
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                                                                   30(b)(6) witness on Topic 7
                                                                   and revised Topics 21-22.

Plaintiffs’ Motion to Compel    Motion to Compel briefing
Rule 30(b)(6) Deposition        completed on October 13,
Testimony from TMUS             2023. Remaining disputes
(remaining Matter 64 –          pending since initial hearing
Authenticity and                on Motion to Compel:
Admissibility of Documents      December 4, 2023.
Produced by Parties)            Supplemental Hearing:
                                February 9, 2024. Relevant
                                email exchanges on February
                                14-19, 2024.

Plaintiffs’ Motion to Restore   Briefing will close on March
Rule 30(b)(6) Time and to       12, 2024.
Compel TMUS to Reproduce
Prepared Rule 30(b)(6)
Witnesses on Matters 12(a)
and 41

TMUS’s Motion to Compel         Motion to Compel briefing          If disputes relating to
Plaintiffs to Designate a       completed on October 13,           TMUS’s motion to compel
Witness to Testify about        2023. Remaining disputes           are resolved, TMUS can
Topics 8(b), 18, 19, 21, 22     pending since hearing on           schedule and take the
Based on the Special            Motion to Compel: January          deposition of CTC’s 30(b)(6)
Master’s rulings, T-Mobile      19, 2024.                          witness on revised Topics 21-
submitted: (1) revised Topics   Additional briefing regarding      22, and obtain plaintiffs’
21 and 22 and (2)               plaintiffs’ objections to          responses to the
interrogatories in lieu of      revised Topics 21 and 22 was       interrogatories it served in
depositions on Topics 18 and    completed on February 16,          lieu of deposition Topics 18-
19. Disputes regarding these    2024.                              19.
Topics remain.                  Additional briefing or
                                submissions are forthcoming
                                this week regarding plaintiffs’
                                objections to TMUS’s
                                interrogatories in lieu of
                                depositions on Topics 18 and
                                19. (The parties intend to
                                email the Special Master with
                                an update on this dispute on
                                March 4, 2024).
Plaintiffs’ Forthcoming         Not yet briefed. Plaintiffs will
Motion to Compel                initiate meet and confer this
Supplemental Responses to       week.
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Second Set of Interrogatories
regarding Call Volumes
Plaintiffs’ Forthcoming         Not yet briefed. Meet and
Motion on Privilege Issues      confers ongoing.
TMUS’s Forthcoming              Not yet briefed. Meet and        TMUS has requested
Motion to Compel Further        confers ongoing.                 Plaintiffs narrow their list of
Amendments to Initial                                            114 witnesses so that TMUS
Disclosures                                                      can determine which
                                                                 witnesses plaintiffs plan to
                                                                 call at trial so that TMUS can
                                                                 take the necessary discovery.

Plaintiffs’ Spoliation          Plaintiffs submitted their
Sanctions Motion                Reply on February 16, 2024.
                                TMUS submitted a Surreply
                                on February 29, 2024.
                                Plaintiffs will submit Opp. to
                                Surreply on March 11, 2024


Plaintiffs’ Motion to De-       Motion pending since:
Designate Confidentiality of    January 4, 2024.
William Rowe Deposition
Transcript
